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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )                 8:13CR107
                      Plaintiff,              )
                                              )
         vs.                                  )                 ORDER
                                              )
BRANDON MOORE,                                )
                                              )
                      Defendant.              )
         This matter is before the court on the motion to continue by defendant Brandon
Moore (Moore) (Filing No. 313). Moore seeks a continuance of the trial of this matter which
is scheduled for December 8, 2014. Upon consideration, the motion will be granted.


         IT IS ORDERED:
         1.    Moore's motion to continue trial (Filing No. 313) is granted.
         2.    Trial of this matter is re-scheduled for January 5, 2015, before Senior Judge
Joseph F. Bataillon and a jury. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendant in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
November 7, 2014, and January 5, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason that
defendant’s counsel requires additional time to adequately prepare the case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 7th day of November, 2014.
                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
